Case 8:08-cv-02248-RWT Document 1-2 Filed 08/28/08 Page 1 of 1
JS 44 (Rev. 12/07) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

I. (a) PLAINTIFFS DEFENDANTS

CoStar Realty Information, Inc., and CoStar Group, Inc. Wayne Mascia Associates

(b) County of Residence of First Listed Plaintiff _Montgomery County of Residence of First Listed Defendant

(EXCEPT IN USS. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)
NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF THE
LAND INVOLVED.

(c) Attorney’s (Firm Name, Address, and Telephone Number) Attorneys (If Known)
William J. Sauers, Crowell & Moring LLP, 1001 Pennsylvania Ave.,
NW, Washington, DC, 20004, (202) 624-2500

II. BASIS OF JURISDICTION (Place an “X” in One Box Only) Ili. CITIZENSHIP OF PRINCIPAL PARTIES Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O1 USS. Government BS 3. Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State O 1 © 1 Incorporated or Principal Place o4 4
: . of Business In This State
12 U.S. Government 4 Diversity Citizen of Another State 1 2 © 2 Incorporated and Principal Place a5 05
Defendant of Business In Another State

(Indicate Citizenship of Parties in Item HI)

Citizen or Subject ofa 03 © 3 Foreign Nation go6 06.
Foreign Country

IV. NATURE OF SUIT (Place an “x” in One Box Onl
: _ CONFERACT | : — YORTS BANKRUPTCY —__

C7 110 Insurance PERSONAL INJURY PERSONAL INJURY [0 610 Agriculture O 422 Appeal 28 USC 158

O 400 State Reapportionment
C1 120 Marine © 310 Airplane 362 Personal Injury - C1 620 Other Food & Drug 0 423 Withdrawal O 410 Antitrust
CO 130 Miller Act © 315 Airplane Product Med. Malpractice CO 625 Drug Related Seizure 28 USC 157 OG 430 Banks and Banking
C1 140 Negotiable Instrument Liability 0 365 Personal Injury - of Property 21 USC 881 O 450 Commerce
(© 150 Recovery of Overpayment [1 320 Assault, Libel & Product Liability C1 630 Liquor Laws AQ} 460 Deportation
& Enforcement of Judgment Slander 0) 368 Asbestos Personal [0 640 R.R. & Truck © 470 Racketeer influenced and
C1 151 Medicare Act 1 330 Federal Employers’ Injury Product (7 650 Airline Regs. © 830 Patent Corrupt Organizations
© 152 Recovery of Defaulted Liability Liability 0 660 Occupational C1 840 Trademark 1 480 Consumer Credit
Student Loans O 340 Marine PERSONAL PROPERTY Safety/Health 1 490 Cable/Sat TV
(Excl. Veterans) 0 345 Marine Product O 370 Other Fraud 0 690 Other 810 Selective Service
0 153 Recovery of Overpayment Liability O 371 Truth in Lending (BOR SO SECURI (}) 850 Securities/Commodities/
of Veteran’s Benefits O 350 Motor Vehicle ( 380 Other Personal O 710 Fair Labor Standards O 861 HIA (1395f; Exchange
0 160 Stockholders’ Suits © 355 Motor Vehicle Property Damage Act © 862 Black Lung (923) 875 Customer Challenge
0 190 Other Contract Product Liability © 385 Property Damage 720 Labor/Mgmt. Relations [0 863 DIWC/DIWW (405(g)) 12 USC 3410
0) 195 Contract Product Liability |O 360 Other Personal Product Liability 0 730 Labor/Mgmt.Reporting 0 864 SSID Title XVI G 890 Other Statutory Actions
C1 196 Franchise Inju & Disclosure Act O 865 RSI (405(g O 891 Agricultural Acts
_ OREAL PROPERTY : TS EPR I NS.-10) 740 Railway Labor Act | 2 PEDERAL TAX SUIT, (1 892 Economic Stabilization Act
O 210 Land Condemnation oO O 790 Other Labor Litigation 1 870 Taxes (U.S. Plaintiff O 893 Environmental Matters
O 220 Foreclosure © 442 Employment Sentence 791 Empl. Ret. Inc. or Defendant) 1 894 Energy Allocation Act
O 230 Rent Lease & Ejectment | 443 Housing/ Habeas Corpus: Security Act O 871 IRS—Third Party 1) 895 Freedom of Information
©} 240 Torts to Land Accommodations (1 530 General 26 USC 7609 Act
© 245 Tort Product Liability 444 Welfare (535 Death Penalty {J 900Appeal of Fee Determination
(290 All Other Real Property | 445 Amer. w/Disabilities - (1) 540 Mandamus & Other [[) 462 Naturalization Ap, Under Equal Access
Employment (J 550 Civil Rights 0 463 Habeas Corpus - to Justice
1 446 Amer. w/Disabilities - {1 555 Prison Condition Alien Detainee - | _950 Constitutionality of
Other 0 465 Other Immigration . State Statutes
O 440 Other Civil Rights Actions
V, ORIGIN (Place an “X” in One Box Only) . Appeal to District
W | Original. (3 2 Removed from © 3  Remanded from O 4 Reinstatedor 0 5 Transferred from O 6 Multidistrict © 7 Mace
Proceeding State Court Appellate Court Reopened (specify) Litigation Judgment
Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
VI. CAUSE OF ACTION Brief description of cause:
VII. REQUESTED IN (J CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER F.R.C.P. 23 17,850,000.00 JURY DEMAND: Yes No
Vill. RELATED CASE(S) See ‘ .
IF ANY (See instructions): INGE DOCKET NUMBER |
DATE SIGNATURE OF ATTORNEY OF RECORD

08/28/2008 /s/ William J. Sauers
FOR OFFICE USE ONLY "

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

